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F“§LED
IN THE UNITED STATES DISTRICT COURT 2ng 3m 22 AH 82 38

FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

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UNITED sTATEs oF AMERICA

V.

NO.

LARRYDUNCAN 3-18€1¥"536°!
PLEA AGREEMENT

Larry Duncan, the defendant, Barry Sorrels, the defendant’s attorney, and the
United States of America (the government) agree as folloWs:
1. Rights of the defendant The defendant understands that the defendant

has the rights:

a. to have his case presented to a federal grand jury;

b. it to plead not guilty;

c. to have a trial by jury;

d. y to have the defendant’s guilt proven beyond a reasonable doubt;

e. to confront and cross-examine Witnesses and to call Witnesses in the
defendant’s defense; and

f. against compelled self-incrimination

2. Waiver of rights and plea of guilty: The defendant Waives these rights
and pleads guilty to the offense alleged in Counts One of the Information, charging a

violation of 26 U.S.C. § 7201, that is, tax evasion. The defendant understands the nature

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and elements of the crime to Which the defendant is pleading guilty, and agrees that the
factual resume the defendant has signed is true and Will be submitted as evidence.

3. Sentence: The maximum penalties the Court can impose for Count One
include:

a. imprisonment for a period not to exceed five years;

b. a fine not to exceed $250,000, or twice any pecuniary gain to the
defendant or loss to the victim(s);

c. a term of supervised release of not more than three years, Which may
be mandatory under the law and Will follow any term of
imprisonment If the defendant violates the conditions of supervised
release, the defendant could be imprisoned for the entire term of
supervised release;

d. a mandatory special assessment of SlOO;

e. restitution to victims or to the community, Which may be mandatory
under the laW, and Which the defendant agrees may include
restitution arising from all relevant conduct, not limited to that
arising from the offense of conviction alone; and

f. costs of incarceration and supervision.

4. Sentencing agreement Pursuant to Federal Rule of Criminal Procedure
ll(c)(l)(C), the parties agree that the appropriate term of imprisonment in this case is one
that does not exceed one year or 12 months’ imprisonment, Which the parties believe
represents the top of the advisory guideline range. If the Court accepts this plea
agreement, this sentencing provision is binding on the Court. Other than the agreed

maximum term of imprisonment, there are no other sentencing limitations, and the Court

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remains free to determine the appropriate sentence under the advisory United States
Sentencing Guidelines and 18 U.S.C. § 3553.

5. Rejection of agreement Pursuant to Federal Rule of Criminal Procedure
ll(c)(§), if the Court rejects this plea agreement the defendant will be allowed to
withdraw the defendant’s guilty plea. If the defendant declines to withdraw the
defendant’s guilty plea, the disposition of the case may be less favorable than that
contemplated by the plea agreement

6. Mandatory special assessment Prior to sentencing, the defendant agrees
to pay to the U.S. District Clerk the amount of $lOO in satisfaction of the mandatory
special assessment in this case.

7. Defendant’s agreement The defendant shall give complete and truthful
information and/or testimony concerning the defendants participation in the offense of
conviction. Upon demand, the defendant shall submit a personal financial statement
under oath and submit to interviews by the government and the U.S. Probation Office
regarding the defendants capacity to satisfy any fines or restitution. The defendant
expressly authorizes the United States Attorney’s Office to immediately obtain a credit
report on the defendant in order to evaluate the defendant’s ability to satisfy any financial
obligation imposed by the Court. The defendant fully understands that any financial
obligation imposed by the Court, including a restitution order and/or the implementation
of a fine, is due and payable immediately. In the event the Court imposes a schedule for
payment of restitution, the defendant agrees that such a schedule represents a minimum

payment obligation and does not preclude the U.S. Attorney’s Office from pursuing any

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other means by which to satisfy the defendant’s full and immediately enforceable
financial obligation The defendant understands that the defendant has a continuing
obligation to pay in full as soon as possible any financial obligation imposed by the
Court.
8. Restitution to the lRS:
a. The defendant agrees to pay restitution to the Internal Revenue Service
in the total amount of $39,717.00, which represents the defendant’s tax
loss for tax years 2012-2016.
b. The defendant agrees that the total amount of restitution reflected in this
agreement results from the defendants fraudulent conduct.
c. The total amount of restitution consists of the following:
i. 2012 - $570.00
ii. 2013 - $5,827.00
iii. 2014 - $6,795.00
iv. 2015 - $1,928.00
v. 2016 - $24,597.00
d. The defendant agrees to pay Title 26 interest on the restitution amount;
interest runs from the last date prescribed for payment of the relevant
tax liability until the IRS receives payment in full. The government will
provide an updated interest figure at sentencing
e. The defendant agrees that restitution is due and payable immediately

after the judgment is entered and is subject to immediate enforcement

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in full, by the United States. If the Court imposes a schedule of
payments, defendant agrees that the schedule of payments is a schedule
of the minimum payment due, and that the payment schedule does not
prohibit or limit the methods by Which the United States may
immediately enforce the judgment in full. The IRS will use the amount
of restitution ordered as the basis for a civil assessment under 26 U.S.C.
§ 6201(a)(4). The defendant does not have the right to challenge the
amount of this restitution-based assessment See 26 U.S.C. §
6201(a)(4)(C). Neither the existence of a restitution payment schedule
nor the defendant’s timely payment of restitution according to that
schedule will preclude the IRS from immediately collecting the full
amount of the restitution-based assessment

f. The defendant is entitled to receive credit for restitution paid pursuant to
this plea agreement against those assessed civil tax liabilities due and
owing for the same periods for which restitution was ordered. The
defendant understands and agrees that the plea agreement does not
resolve the defendant’s civil tax liabilities, that the IRS may seek
additional taxes, interest and penalties from defendant relating to the
conduct covered by this plea agreement and for conduct relating to
another time period, and that satisfaction of the restitution debt does not
settle, satisfy, or compromise defendant’s obligation to pay any

remaining civil tax liability. The defendant authorizes release of

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information to the IRS for purposes of making the civil tax and
restitution-based assessments

g. The defendant understands that he is not entitled to credit with the IRS
for any payment until the payment is received by the IRS.

h. If full payment cannot be made immediately, defendant agrees to make
a complete and accurate financial disclosure to the IRS on forms
prescribed by the IRS (including, but not limited to, IRS Form 433-A
and Form 433-B, as appropriate), and to disclose to the IRS any and all
additional financial information and financial statements provided to the
probation office. The defendant also agrees to provide the above-
described information to the probation office.

i. If the defendant makes a payment of the restitution agreed to in
paragraph [8c] prior to sentencing, the payment will be applied as a
credit against the restitution ordered pursuant to paragraph [Sf].

9. Government’s agreement The government will not bring any additional
charges against the defendant based upon the conduct underlying and related to the
defendant’s plea of guilty. The government will file a Supplement in this case, as is
routinely done in every case, even though there may or may not be any additional terms.
This agreement is limited to the United States Attorney’s Office for the Northern District
of Texas and does not bind any other federal, state, or local prosecuting authorities, nor

does it prohibit any civil or administrative proceeding against the defendant or any

property.

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10. Violation of agreement The defendant understands that if the defendant
violates any provision of this agreement or if the defendants guilty plea is vacated or
withdrawn, the government will be free from any obligations of the agreement and free to
prosecute the defendant for all offenses of Which it has knowledge. In such event the
defendant waives any objections based upon delay in prosecution. If the plea is vacated
or withdrawn for any reason other than a finding that it was involuntary, the defendant
also waives objection to the use against the defendant of any information or statements
the defendant has provided to the government and any resulting leads.

11. Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this plea
agreement There have been no guarantees or promises from anyone as to what sentence
the Court will impose.

12. Waiver of right to appeal or otherwise challenge sentence: The
defendant waives the defendant’s rights, conferred by 28 U.S.C. § 1291 and 18 U.S.C. §
3742, to appeal the conviction, sentence, fine and order of restitution or forfeiture in an
amount to be determined by the district court The defendant further waives the
defendant’s right to contest the conviction, sentence, fine and order of restitution or
forfeiture in any collateral proceeding, including proceedings under 28 U.S.C. § 2241 and
28 U.S.C. § 2255. The defendant further waives the defendant’s right to seek any future
reduction in the defendant’s sentence (e.g., based on a change in sentencing guidelines or
statutory law). The defendant however, reserves the rights (a) to bring a direct appeal of

(i) a sentence exceeding the statutory maximum punishment or (ii) an arithmetic error at

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sentencing, (b) to challenge the voluntariness of the defendants plea of guilty or this
waiver, and (c) to bring a claim of ineffective assistance of counsel.

13. Representation of counsel: The defendant has thoroughly reviewed all
legal and factual aspects of this case with the defendants attorney and is fully satisfied
with that attorney’s legal representation The defendant has received from the
defendants attorney explanations satisfactory to the defendant concerning each
paragraph of this plea agreement each of the defendants rights affected by this
agreement and the alternatives available to the defendant other than entering into this
agreement Because the defendant concedes that the defendant is guilty, and after
conferring with the defendants attorney, the defendant has concluded that it is in the
defendants best interest to enter into this plea agreement and all its terms, rather than to
proceed to trial in this case.

14. Entirety of agreement This document is a complete statement of the
parties’ agreement and may not be modified unless the modification is in writing and
signed by all parties. This agreement supersedes any and all other promises,
representations, understandings, and agreements that are or Were made between the
parties at any time before the guilty plea is entered in court No promises or
representations have been made by the United States except as set forth in writing in this

plea agreement

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AGREED To AND sIGNED this __ day of , 20

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MARCUS BU`sCH
Section Chief

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l have read or had read to me this plea agreement and have carefully reviewed
every part of it with my attorney. l fully understand it and voluntarily agree to it.

al€~;D-` /a » / z - / ?
LARKTBUNCAN Date
Defendant

l am the defendants attorney. l have carefully reviewed every part of this plea

agreement with the defendant To my knowledge and belief, my clients decision to enter
into this plea agreement is an informed and voluntary one.

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Attorney for Defendant

 

 

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